Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 1 of 73

Text Message Conversation between Lt. Krul and I

Messages exported from: Kaleb’s iPhone (+17875288049)

With: LT. Krul (2726348846)

PDF generated on 7/6/2023 using Decipher TextMessage

LT. Krul (2726348846)

4/23/2023 12:26 PM
Kaleb’s iPhone (+17875288049)

alld 1ae-lel avant lar IU AM ILAYL ina] X-Ha Co>eU pcan Zer-1 Ke |

4/23/2023 12:27 PM
Kaleb's iPhone (+17875288049)

JOP NetsvAcyetol0)

4/23/2023 12:27 PM
Kaleb’s iPhone (+17875288049)

WATT ge) aha

5/20/2023 9:20 AM
Kaleb’s iPhone (+17875288049)

5/20/2023 12:05 PM
Kaleb’s iPhone (+17875288049)

5/20/2023 3:58 PM

Call or text if you or the shift has questions....once again, thank you, your efforts are noticed by

all of management.

5/20/2023 3:58 PM
Kaleb’s iPhone (+17875288049)

(0)

Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 2 of 73

5/20/2023 3:59 PM
LT. Krul (2726348846)

That means we appreciate your work

5/20/2023 3:59 PM
Kaleb’s iPhone (+17875288049)

Marleen (ele)

5/29/2023 5:38 PM (Viewed 5/29/2023 5:39 PM)
LT. Krul (2726348846)

Thank you for the heads up, Boss and | talked, he knew

5/29/2023 5:39 PM
Kaleb’s iPhone (+17875288049)

(eo)

5/29/2023 5:42 PM (Viewed 5/29/2023 5:43 PM)
LT. Krul (2726348846)

It's ok if you have to distance yourself from the front office, | understand

5/29/2023 5:43 PM
Kaleb’s iPhone (+17875288049)

Xela mWoliaya

5/29/2023 5:46 PM (Viewed 5/29/2023 5:48 PM)
LT. Krul (2726348846)

| won't, | trust you

5/29/2023 5:48 PM
Kaleb’s iPhone (+17875288049)

els

5/30/2023 10:19 PM (Viewed 5/30/2023 10:20 PM)
LT. Krul (2726348846)

You're on for tomorrow, don't forget your Spanish

5/30/2023 10:19 PM (Viewed 5/30/2023 10:20 PM)
LT. Krul (2726348846)

Ask Supervisor Ortiz to keep you available

5/30/2023 10:20 PM
LT. Krul (2726348846)

| would but, language barrier

5/30/2023 10:22 PM
Kaleb’s iPhone (+17875288049)

els

5/30/2023 10:34 PM
LT. Krul (2726348846)

Hang on

5/30/2023 10:34 PM
LT. Krul (2726348846)

Let me look

5/30/2023 10:35 PM
LT. Krul (2726348846)

| apologize, your card is off tomorrow
Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 3 of 73

5/30/2023 10:36 PM
Kaleb’s iPhone (+17875288049)

iM at=t-1e Midal-M=pade- Md laal=y

5/30/2023 10:36 PM
LT. Krul (2726348846)

The holiday threw me off

5/30/2023 10:36 PM
LT. Krul (2726348846)

Shit

5/30/2023 10:36 PM
Kaleb’s iPhone (+17875288049)

|

5/30/2023 10:39 PM
LT. Krul (2726348846)

Anyway, thanks...you have been kind to me, | appreciate it.

5/30/2023 10:40 PM
Kaleb’s iPhone (+17875288049)

(o)
IVT oh coll of-Wei( t=] opal elo] pmannVioly aude] anloldcey)in

5/30/2023 10:41 PM
LT. Krul (2726348846)

10-4, you are off tomorrow

5/30/2023 10:41 PM
Kaleb’s iPhone (+17875288049)

4

5/30/2023 10:42 PM

LT. Krul (2726348846)

Sorry, | was confused.

5/30/2023 10:42 PM
Kaleb's iPhone (+17875288049)

i} ae) em DYoy oh ante) gal-xe)

5/30/2023 10:43 PM
LT. Krul (2726348846)

You got Diaz number?

5/30/2023 10:43 PM
Kaleb’s iPhone (+17875288049)

Ney ey=)

5/30/2023 10:44 PM
LT. Krul (2726348846)

Ok....talk later®

6/1/2023 6:59 PM
LT. Krul (2726348846)

You good? Mr. Cluff understands, we value your work, don’t quit.

6/1/2023 7:00 PM
Kaleb’s iPhone (+17875288049)

ean

:
Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 4 of 73

6/1/2023 7:00 PM
Kaleb’s iPhone (+17875288049)

1PYoyn mn olda an mar=t-1eM at-mnale)al=yVA

6/1/2023 7:01 PM
Kaleb’s iPhone (+17875288049)

Marlee (elu)

6/1/2023 7:01 PM
LT. Krul (2726348846)

@®@

6/1/2023 7:01 PM
LT. Krul (2726348846)

Don't we all

6/2/2023 5:13 PM
Kaleb’s iPhone (+17875288049)

6/2/2023 6:33 PM (Viewed 6/2/2023 6:42 PM)
LT. Krul (2726348846)

Thank you for your help today...

6/2/2023 6:34 PM (Viewed 6/2/2023 6:42 PM)
LT. Krul (2726348846)

It will get better

6/2/2023 6:42 PM
Kaleb’s iPhone (+17875288049)

Sek ao) of

6/2/2023 6:59 PM (Viewed 6/2/2023 7:00 PM)
LT. Krul (2726348846)

We like you, if you had a preference, what supervisor and shift would you prefer?

6/2/2023 7:02 PM
Kaleb's iPhone (+17875288049)

Naw Vaso] olla" Xela LU} al o)i-F-1X-0 <-1-) oN ant late \AclalLie

6/2/2023 7:04 PM
LT. Krul (2726348846)

Ok, think we can do that...no promises, thinking, can you do a midnight shift for June?

4

Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 5 of 73

6/2/2023 7:04 PM
LT. Krul (2726348846)

| need options

6/2/2023 7:04 PM
Kaleb’s iPhone (+17875288049)

@)

:

6/2/2023 7:05 PM
Kaleb’s iPhone (+17875288049)

al)

6/2/2023 7:05 PM
LT. Krul (2726348846)

You tell me, we are trying to be fair

6/2/2023 7:05 PM
Kaleb’s iPhone (+17875288049)

e)

|

6/2/2023 7:06 PM (Viewed 6/2/2023 7:07 PM)
LT. Krul (2726348846)

Not sure yet, Murphy's shift?

6/2/2023 7:07 PM
Kaleb’s iPhone (+17875288049)

le)

:

6/2/2023 7:07 PM (Viewed 6/2/2023 7:08 PM)
LT. Krul (2726348846)

Can | trust you enough to be quiet about our conversation?

6/2/2023 7:08 PM
Kaleb’s iPhone (+17875288049)

NS

6/2/2023 7:08 PM
LT. Krul (2726348846)

Thank you

6/2/2023 7:12 PM
LT. Krul (2726348846)

| know you are in a difficult place, and we can’t talk outside of work.

6/2/2023 7:13 PM
Kaleb’s iPhone (+17875288049)

ail)

6/2/2023 7:17 PM
LT. Krul (2726348846)

You are honest and kind, thank you.

6/2/2023 7:17 PM
LT. Krul (2726348846)

NRN

6/2/2023 7:19 PM
Kaleb's iPhone (+17875288049)

Mat Talan cele)

|
Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 6 of 73

6/2/2023 7:20 PM
LT. Krul (2726348846)

Sorry, NRN means no response needed....don't feel obligated to respond

6/2/2023 7:21 PM
Kaleb’s iPhone (+17875288049)

:

6/2/2023 8:03 PM
LT. Krul (2726348846)

®

6/3/2023 3:24 PM
Kaleb’s iPhone (+17875288049)

IN]D):X@m oe olTarow-V(oml aol mevole) Tae ntsLoMmt-lave Mm tal-M cole) MM (-r-1 dlale Mo)/-1m-Welt-\el alloy al (<1 -feldgelal(@)

6/3/2023 3:25 PM (Viewed 6/3/2023 3:26 PM)
LT. Krul (2726348846)

I'll call it in

6/4/2023 12:27 PM
Kaleb’s iPhone (+17875288049)

aA Tala el0)

6/4/2023 12:27 PM (Viewed 6/4/2023 12:28 PM)
LT. Krul (2726348846)

Of course, just texted Boss we were good to go

6/4/2023 12:28 PM
LT. Krul (2726348846)

Keep me posted, please @)

6/4/2023 12:28 PM
Kaleb’s iPhone (+17875288049)

ie)

6/4/2023 12:29 PM
Kaleb’s iPhone (+17875288049)

Xela mel iayys

6/5/2023 4:47 PM
LT. Krul (2726348846)

Thanks for taking the extra shift today, that really helped. Young is sick, she’s not faking it

6/5/2023 4:47 PM
Kaleb‘s iPhone (+17875288049)

fe)

|

6/5/2023 4:48 PM
Kaleb's iPhone (+17875288049)

PN Vata

6/7/2023 4:55 PM
Kaleb‘s iPhone (+17875288049)

KO) 7i I of=m Kel dl orem WIL diate Mol aat-mavey ol t-] WAV mon0l0) olan)

6/7/2023 5:05 PM (Viewed 6/7/2023 5:07 PM)
LT. Krul (2726348846)

Sorry to ask you for that information, PM Nate has to make a notification to the Miami Field
Office, I'm not comfortable asking those questions either.
Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 7 of 73

6/7/2023 5:07 PM
Kaleb’s iPhone (+17875288049)

i

6/7/2023 5:07 PM
Kaleb’s iPhone (+17875288049)

Ployam a woliay

6/7/2023 5:08 PM (Viewed 6/7/2023 5:13 PM)
LT. Krul (2726348846)

Thank you

6/7/2023 5:22 PM (Viewed 6/7/2023 5:24 PM)
LT. Krul (2726348846)

Are you rover tomorrow?

6/7/2023 5:24 PM
Kaleb’s iPhone (+17875288049)

N(5

6/7/2023 5:51 PM
Kaleb’s iPhone (+17875288049)

(Geter dolaM OY Malem L dale Al dat mee tal m alesse] ¢-1)

6/7/2023 6:01 PM (Viewed 6/7/2023 6:04 PM)
LT. Krul (2726348846)

That's ok, doesn’t change anything

6/7/2023 6:03 PM (Viewed 6/7/2023 6:04 PM)
LT. Krul (2726348846)

Remind me to talk to you tomorrow in private, work related that helps you

6/7/2023 6:05 PM
Kaleb’s iPhone (+17875288049)

i

|

6/7/2023 6:05 PM (Viewed 6/7/2023 6:24 PM)
LT. Krul (2726348846)

10-4

6/8/2023 6:13 PM
LT. Krul (2726348846)

Everything ok?

6/8/2023 6:13 PM
Kaleb’s iPhone (+17875288049)

IN K-¥-]el-mave)e

6/8/2023 6:13 PM

LT. Krul (2726348846)
Shit

6/8/2023 6:14 PM
Kaleb’s iPhone (+17875288049)

VVEViad (el patch ell encod 1a)

6/8/2023 6:16 PM (Viewed 6/8/2023 6:17 PM)
LT. Krul (2726348846)

Please tell me, ICE is here, we can address issues
LT. Krul (2726348846)

Have Pan call me

LT. Krul (2726348846)

Please

LT. Krul (2726348846)
10-4

LT. Krul (2726348846)

Ok

LT. Krul (2726348846)

Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 8 of 73

6/8/2023 6:17 PM
Kaleb’s iPhone (+17875288049)

Ne)

6/8/2023 6:17 PM
Kaleb’s iPhone (+17875288049)

Yolen mre) aal-xe]

6/8/2023 6:18 PM
Kaleb’s iPhone (+17875288049)

Noh dal fave i at-]e) oXslar-te|

6/8/2023 6:18 PM

6/8/2023 6:18 PM (Viewed 6/8/2023 6:19 PM)

6/8/2023 6:19 PM
Kaleb’s iPhone (+17875288049)

EeX-1el0) ate 3

6/8/2023 6:19 PM

6/8/2023 6:20 PM
Kaleb‘s iPhone (+17875288049)

evant MEN

6/8/2023 6:20 PM

6/8/2023 6:22 PM
Kaleb’s iPhone (+17875288049)

No] da

6/8/2023 6:30 PM

It's ok, management is trying to keep our officers protected

LT. Krul (2726348846)

6/8/2023 9:31 PM (Viewed 6/8/2023 9:32 PM)

Thank you for talking to me, NRN

LT. Krul (2726348846)

6/11/2023 5:57 PM (Viewed 6/11/2023 5:59 PM)

Tomorrow everyone needs to be on point

LT. Krul (2726348846)

6/11/2023 5:58 PM (Viewed 6/11/2023 5:59 PM)

I've given instructions on assignments

LT. Krul (2726348846)

6/11/2023 5:58 PM (Viewed 6/11/2023 5:59 PM)

Please let Mr. Ortiz know that if he has any questions, just ask
Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 9 of 73

6/11/2023 5:59 PM
Kaleb’s iPhone (+17875288049)

6/11/2023 6:10 PM (Viewed 6/11/2023 6:12 PM)

LT. Krul (2726348846)

Please understand, everything needs to be perfect tomorrow, everyone in place, flag raising on
time, etc

6/11/2023 6:12 PM
Kaleb’s iPhone (+17875288049)

6/11/2023 6:14 PM (Viewed 6/11/2023 6:15 PM)

LT. Krul (2726348846)

| apologize for putting you in a difficult position, | would go direct with Mr. Ortiz, but | can’t
speak Spanish, | need some that management trusts

6/11/2023 6:15 PM
LT. Krul (2726348846)

That will help

6/11/2023 6:16 PM
Kaleb's iPhone (+17875288049)

1DYo}ay a-] oe) Lofe] 4mm ol (=m Mog

6/11/2023 6:17 PM (Viewed 6/11/2023 6:35 PM)
LT. Krul (2726348846)

Thank you

6/11/2023 7:52 PM
Kaleb’s iPhone (+17875288049)

MAN A=W Me [O13 (lola N\Velccyan' eM 1M oX-McoN'{-1al ie lel are nc of-M [nN |B) Om ol I] Ceol[aremn COMM UUme)

rola KohVcLm Kel UlaTe Ya Ola Plo COLUMN -lan cm Ua-Mnole (eM ol Meola -M-r-laVanuolaa liar Paul ae-10l ole lola Mlal-la
nol] aml si-ce leo sie] a0)

6/13/2023 6:58 PM (Viewed 6/13/2023 7:00 PM)
LT. Krul (2726348846)

Thank you

6/14/2023 9:08 PM (Viewed 6/14/2023 9:09 PM)
LT. Krul (2726348846)

Thank you for our discussion this evening, | know you know everything

6/14/2023 9:10 PM
Kaleb’s iPhone (+17875288049)

AI MaX-\lent- Narcan Atl Lal}

6/14/2023 9:10 PM

LT. Krul (2726348846)
| appreciate it, we are friends,

6/14/2023 9:10 PM
Kaleb’s iPhone (+17875288049)

6/14/2023 9:11 PM

LT. Krul (2726348846)

You sure?
Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 10 of 73

6/14/2023 9:11 PM
Kaleb’s iPhone (+17875288049)

NS

6/14/2023 9:11 PM (Viewed 6/14/2023 9:39 PM)
LT. Krul (2726348846)

10-4

6/15/2023 7:44 PM (Viewed 6/15/2023 7:45 PM)
LT. Krul (2726348846)

Can you ask about our new guy, Sandiageo...whatever his name is....| like him, but would
appreciate your opinion

6/15/2023 7:44 PM (Viewed 6/15/2023 7:45 PM)
LT. Krul (2726348846)

He's working tonight

6/15/2023 7:45 PM
LT. Krul (2726348846)

I'm asking for the program

6/15/2023 7:45 PM (Delivered 6/15/2023 7:46 PM)
Kaleb’s iPhone (+17875288049)

NVM atime ZS

6/15/2023 7:53 PM (Viewed 6/15/2023 7:55 PM)
LT. Krul (2726348846)

He's on evening after today

6/15/2023 7:54 PM (Viewed 6/15/2023 7:55 PM)
LT. Krul (2726348846)

| like him...he’s willing to learn, and can translate

6/15/2023 7:55 PM
Kaleb’s iPhone (+17875288049)

aU)

6/15/2023 7:55 PM
LT. Krul (2726348846)

What's your first impression? You don’t have to answer,,

6/15/2023 7:55 PM
Kaleb's iPhone (+17875288049)

aie)

6/15/2023 7:59 PM (Viewed 6/15/2023 8:01 PM)
LT. Krul (2726348846)

Can | call? I’m leaving tomorrow, | owe Mr Cluff an assessment

6/15/2023 8:00 PM (Viewed 6/15/2023 8:01 PM)
LT. Krul (2726348846)

| won't hold you on the phone

6/15/2023 8:01 PM
LT. Krul (2726348846)

You're off, just trying to fix issues

6/15/2023 8:02 PM
Kaleb’s iPhone (+17875288049)

Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 11 of 73

6/15/2023 8:03 PM
Kaleb’s iPhone (+17875288049)

yoy a ma olaavAN Nam me Cellave i-laNacallnrep

6/15/2023 8:03 PM
Kaleb’s iPhone (+17875288049)

NM olU merle et-]1)

6/15/2023 9:08 PM (Viewed 6/15/2023 9:17 PM)
LT. Krul (2726348846)

Thank you for the the call, you help all of us

6/23/2023 6:39 PM (Viewed 6/23/2023 6:40 PM)
LT. Krul (2726348846)

What did you guys do when | was gone?

6/23/2023 6:40 PM
Kaleb‘s iPhone (+17875288049)

Noh daltare}

6/23/2023 6:41 PM
Kaleb’s iPhone (+17875288049)

b folUM com of-(o. a4

6/23/2023 6:43 PM
LT. Krul (2726348846)

Yes, was on the inbound flight, didn’t expect to walk into this much

6/23/2023 6:44 PM
Kaleb's iPhone (+17875288049)

ie lola mal ave)

6/23/2023 6:47 PM
LT. Krul (2726348846)

| understand.

6/23/2023 6:47 PM
Kaleb's iPhone (+17875288049)

Yo MMe lle Melun-ealiare My icelare fa

6/23/2023 6:51 PM
LT. Krul (2726348846)

No. But why aren't the tents put away, why I’m | hearing that my supervisors won't help

6/23/2023 6:51 PM
LT. Krul (2726348846)

When | was out there working, this stopped now

6/23/2023 6:52 PM
LT. Krul (2726348846)

| know you talk to your friends , and | know they talk to you

6/23/2023 6:52 PM
LT. Krul (2726348846)

They have the weekend, Monday won't be nice for them

6/23/2023 6:53 PM
LT. Krul (2726348846)

Unless they step up, and get our tents put away
Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 12 of 73

6/23/2023 6:53 PM
Kaleb’s iPhone (+17875288049)

AYN Mer-] |B VZele)

6/27/2023 8:01 PM (Viewed 6/27/2023 8:03 PM)
LT. Krul (2726348846)

Text me if you can, I’m trying to help Nate

6/27/2023 8:04 PM
Kaleb’s iPhone (+17875288049)

aril aal=)

6/27/2023 9:33 PM
LT. Krul (2726348846)

Thank you

6/27/2023 9:35 PM
Kaleb’s iPhone (+17875288049)

ailt-M-}ar-Youalont-Ta1an Vida MV/IN{1 smh ay eL-Hn > 4Up cn \Zer-] Ke]

6/27/2023 9:36 PM (Viewed 6/27/2023 10:05 PM)
LT. Krul (2726348846)

Wonder if she’s answer

6/27/2023 10:05 PM
Kaleb’s iPhone (+17875288049)

Saal

6/27/2023 11:46 PM
LT. Krul (2726348846)

Thank you

6/27/2023 11:46 PM
Kaleb’s iPhone (+17875288049)

els

6/27/2023 11:46 PM
LT. Krul (2726348846)

| like talking to you

6/27/2023 11:50 PM
LT. Krul (2726348846)

No response necessary, our conversations are awkward...

6/27/2023 11:51 PM
Kaleb’s iPhone (+17875288049)

he) a lol aU Vol ia]

6/27/2023 11:51 PM (Viewed 6/27/2023 11:52 PM)
LT. Krul (2726348846)

You sure?

6/27/2023 11:52 PM
Kaleb’s iPhone (+17875288049)

NS

6/27/2023 11:54 PM (Viewed 6/28/2023 6:11 AM)
LT. Krul (2726348846)

Thanks.....| mean it

12
Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 13 of 73

6/28/2023 10:12 AM
Kaleb's iPhone (+17875288049)

SF-TuateVal ele [om aletote kom nave) CoM -1a) coal (= r-]ela] Varad oY 1h Mm SISA -AUV- 1h oY Colale)

6/28/2023 10:12 AM (Viewed 6/28/2023 10:17 AM)
LT. Krul (2726348846)

Have him come on in, he can go through the uniform pile

6/28/2023 10:17 AM
Kaleb’s iPhone (+17875288049)

iam larence)(-1—] oN WI] malna

6/28/2023 10:17 AM (Viewed 6/28/2023 10:20 AM)
LT. Krul (2726348846)

Thanks

6/28/2023 7:58 PM
LT. Krul (2726348846)

Tell....it's been an interesting day..promise I’m not calling. Just need to wrap this up...anything?

6/28/2023 7:59 PM
Kaleb’s iPhone (+17875288049)

Ih ow afi ol -1-1 0

6/28/2023 8:01 PM
LT. Krul (2726348846)

Give me a minute

6/28/2023 8:01 PM
Kaleb’s iPhone (+17875288049)

(Je)

6/28/2023 9:23 PM
LT. Krul (2726348846)

| apologize, thank you for being discreet about our conversation, that conversation won't
come up again

6/28/2023 9:24 PM
LT. Krul (2726348846)

Sorry

6/28/2023 9:24 PM
Kaleb’s iPhone (+17875288049)

hee) om lola m aN eta]

6/28/2023 9:31 PM
LT. Krul (2726348846)

You've been a friend, | misjudged, I’m embarrassed

6/28/2023 9:31 PM
Kaleb’s iPhone (+17875288049)

iNTe)

6/28/2023 9:31 PM
Kaleb’s iPhone (+17875288049)

Yo aM at of

6/28/2023 9:47 PM (Viewed 6/28/2023 9:52 PM)
LT. Krul (2726348846)

Ok, I’m still mortified, apologizes..
Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 14 of 73

6/28/2023 9:52 PM
Kaleb's iPhone (+17875288049)

NS} KeJo)

6/28/2023 9:52 PM
Kaleb’s iPhone (+17875288049)

(efofefo Malte ]aya!

6/29/2023 6:20 PM
LT. Krul (2726348846)

| need you to help the program, it’s with our favorite migrant

6/29/2023 6:21 PM
Kaleb’s iPhone (+17875288049)

Aid a¥-) ace foRVColU MN -1a) apni =m Colo (oY4

6/29/2023 6:21 PM
Kaleb’s iPhone (+17875288049)

W(e}k-] Le) ole |p A=¥4

6/29/2023 6:22 PM

LT. Krul (2726348846)
Shit, no, can you take a brief call, I'd rather explain

6/29/2023 6:22 PM
Kaleb’s iPhone (+17875288049)

AYU ike} IB VZele

6/29/2023 9:02 PM
LT. Krul (2726348846)

Thank you, everything is good, | owe you

6/29/2023 9:03 PM
Kaleb’s iPhone (+17875288049)

Nove (olan ane) iat

6/29/2023 9:08 PM
Kaleb’s iPhone (+17875288049)

TURN HT Lec =Xe Ald con =X4(o) a=] }o\=1-1 <1 ave Me (oN na \VAcoloMn cal MNV-N An UAr-l am Man lt-\3) <-le Mal LN Malon aaa Mal
IoC nara’ CXC mee MIL

6/29/2023 9:31 PM
LT. Krul (2726348846)

It's OK, I'm not here to hurt anyone, management needs to know what is happening.

6/29/2023 9:33 PM
LT. Krul (2726348846)

| just told Mr.Cluff that | will resign on Monday unless MVM will stop with the calls from
disgruntled employees

6/29/2023 9:34 PM
Kaleb’s iPhone (+17875288049)

I WaCToto tm DYolam ae fol daly

6/29/2023 9:34 PM

LT. Krul (2726348846)

That will be a fun call

6/29/2023 9:35 PM
Kaleb’s iPhone (+17875288049)

iKe}e

Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 15 of 73

6/29/2023 9:38 PM
LT. Krul (2726348846)

It's ok, if management doesn’t let you do the job that you were hired to do, why am | here

6/29/2023 9:41 PM
Kaleb’s iPhone (+17875288049)

BTUs ae lola al dale) NUar-1 miele \VA

6/29/2023 9:42 PM
LT. Krul (2726348846)

No response necessary, you see what we try to do...

6/29/2023 9:43 PM
Kaleb’s iPhone (+17875288049)

N(x¥u LU} am (@) YM areFoma=t Xe) ari} ol] id= oy ma valciiar-\eett (ola A Ie [eave] ety

6/29/2023 9:45 PM (Viewed 6/29/2023 9:48 PM)
LT. Krul (2726348846)

No, just listen to Mr. Cluff, we all like you, you'll be ok

6/29/2023 9:49 PM
Kaleb’s iPhone (+17875288049)

(@F-Vo Ml ine-}) nid ain dat oa Ka

6/29/2023 9:55 PM
LT. Krul (2726348846)

Yes, always. Maybe not tonight, he has twin infants, with an Hispanic wife G)

6/29/2023 9:55 PM
Kaleb's iPhone (+17875288049)

Noa olalfe] ahem Key nnrel ace Y

6/29/2023 9:58 PM (Viewed 6/29/2023 9:59 PM)
LT. Krul (2726348846)

Your card is on the evening shift tomorrow, | think... should know..don’t come in early for the
topic, | already told him you are GTG

6/29/2023 10:02 PM
LT. Krul (2726348846)

| will make sure that Mr. Tracy and Mr. Cluff know about this. You are covered, not because we
are friends, but because you tell the truth

6/29/2023 10:02 PM
Kaleb’s iPhone (+17875288049)

@)

|

6/29/2023 10:04 PM (Viewed 6/29/2023 10:05 PM)
LT. Krul (2726348846)

Go to bed...| will not peck at you anymore

6/29/2023 10:05 PM
Kaleb's iPhone (+17875288049)

(efofefo Malle | aie

7/1/2023 8:35 AM (Viewed 7/1/2023 9:39 AM)
LT. Krul (2726348846)

Can you please call me when you wake up? It’s strictly work related

7/1/2023 9:30 AM (Viewed 7/1/2023 9:33 AM)
LT. Krul (2726348846)

Can you please call me when you wake up? It's strictly work related
Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 16 of 73

LT. Krul (2726348846)

Yes....which one?

LT. Krul (2726348846)

7/1/2023 9:33 AM
Kaleb’s iPhone (+17875288049)

Dloyan a) cela

Message not delivered.
7/1/2023 9:39 AM
Kaleb’s iPhone (+17875288049)

Yolo mola

7/1/2023 7:17 PM
Kaleb’s iPhone (+17875288049)

(OTe Me] VM Mr-y Lec nal ie ¢-1alaMl boLoV Ard

7/1/2023 7:18 PM (Viewed 7/1/2023 7:19 PM)

7/1/2023 7:19 PM
Kaleb's iPhone (+17875288049)

Miat-Mel0] ey-1p Mo) al olejdala

7/1/2023 7:19 PM
Kaleb's iPhone (+17875288049)

Manel diate 10] oye) among

7/1/2023 7:21 PM

If they ask, we will give them razors, if they don't ask us, don’t offer razors to them

LT. Krul (2726348846)

Call me, I'll try to clarify

LT. Krul (2726348846)

What happened today? You want to talk?

LT. Krul (2726348846)
Ok

LT. Krul (2726348846)

No worries on time

LT. Krul (2726348846)

7/1/2023 7:21 PM

7/1/2023 7:22 PM
Kaleb‘s iPhone (+17875288049)

Mare Le LAVAL cre

7/3/2023 6:54 PM

7/3/2023 6:55 PM
Kaleb’s iPhone (+17875288049)

(CT\V{-mo Maal UIC

7/3/2023 6:57 PM (Viewed 7/3/2023 6:58 PM)

7/3/2023 6:58 PM

7/3/2023 8:10 PM

You don't have to talk to me, | understand, nothing more needs to be said. I'll consider our

conversation done, in private, all the best to you.

7/3/2023 8:11 PM
Kaleb‘s iPhone (+17875288049)

Manmaveyar-le)at)

16
Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 17 of 73

7/3/2023 8:16 PM (Viewed 7/3/2023 8:17 PM)
LT. Krul (2726348846)

| understand, management is trying to reach out to you, | can’t help if you can’t communicate.

7/3/2023 8:19 PM
Kaleb’s iPhone (+17875288049)

Maem ale) me-Lell=)-1e La \VACer-] | Se) ma

7/3/2023 8:20 PM
LT. Krul (2726348846)

Last time | checked, I’m still management@

7/3/2023 8:21 PM
Kaleb’s iPhone (+17875288049)

Mansi tc-tx-1ei-ave mel i1-) 9) oLelialx=ve R

7/3/2023 8:23 PM (Viewed 7/3/2023 9:43 PM)
LT. Krul (2726348846)

| get it, evening shift isn’t nice, and it takes a few days or weeks to get accimitised

7/3/2023 8:24 PM (Viewed 7/3/2023 9:43 PM)
LT. Krul (2726348846)

Why do you think Nate is asking me to talk to you?

7/3/2023 8:25 PM (Viewed 7/3/2023 9:43 PM)
LT. Krul (2726348846)

When you walked out on Nate, that’s hard to come back from

7/3/2023 8:26 PM (Viewed 7/3/2023 9:43 PM)
LT. Krul (2726348846)

Be honest, do you want to be on the project?

7/3/2023 8:29 PM (Viewed 7/3/2023 9:43 PM)
LT. Krul (2726348846)

If you do, let's fix this now, explain to Nate that you were tired, try to explain, and let's move
forward.

7/3/2023 8:31 PM (Viewed 7/3/2023 9:43 PM)
LT. Krul (2726348846)

Why are you stressed and disappointed? Contracting sucks, but it’s part of the game. | wanted
to go home my first week here

7/3/2023 8:32 PM (Viewed 7/3/2023 9:43 PM)
LT. Krul (2726348846)

I'm trying to help, give management something to help

7/3/2023 8:41 PM (Viewed 7/3/2023 9:43 PM)
LT. Krul (2726348846)

You have the conversation captured, as a person, we've all tried to help, you are not
terminated, and | want you to stay on the project
Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 18 of 73

7/3/2023 9:44 PM
Kaleb’s iPhone (+17875288049)

7/4/2023 12:14 AM
Kaleb's iPhone (+17875288049)

DYona mel Vie VoNce Mla Many aanloL¥L 4a Ma Mma aM arora 7-Y-1aVar-lale mat -eXelanMarolal ole ical lave Manton AVola. dave We-) Malle [als
ramen daX=Mavo) gust] MV ENALcoler- Male laat-lara olU ial alo) meat -M lave Ke) m calm Velie Me-1IUZ-)\ milla ele Me [olelom of-lae
WM at-M alol0l cMeel- =F) <1 em om anrolal alc oy-lianiainre

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lol -Yor-1Uy-Mo)at-Manlle|c-lalaesiwe l(a 8

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ante eI evi ol <atoy Wal ow Nate Key catcimneali ave fail <M an \Varct=) (Laval -)nnl-1a) Com Maal (NY Lale ate MKel er IN V.=x- Lg
PNavoM W/\VaaMicw eX-\Ulare maal-Me le) -1aalant=1aies ol-Tacol mi na\ art-ll-laaravaremaal-mit1 melee) ah

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Vat laeloMYCelUMel Uy Mla icolamini=y4

241 total messages and 6 total images.

18
Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23

Text Message Conversation between PM Cluff and I

Messages exported from: Kaleb’s iPhone (+17875288049)
With: PM Cluff (2076042618)
PDF generated on 10/1/2023 using Decipher TextMessage

Page 19 of 73

5/15/2023 2:31 PM (Viewed 5/15/2023 3:41 PM)
PM Cluff (2076042618)

729-44

5/16/2023 10:29 AM
PM Cluff (2076042618)

nate

5/16/2023 10:30 AM
Kaleb’s iPhone (+17875288049)

POC: Vecrrsertnentiicey

Phones 7OTAie2II9 se1, Tel 2058 ie i

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Jusilea Wemmation

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Hab te greeny Oarderriaariel Werk rzeaure it ot ts! ae
Srneraauranie pty te Yer WA AEA AINCT) 7 Bad BTS PY
‘rp umeavevobes Gieefecbuan /eaetd eg aft are—rte |S ‘ oP
roe poe eae Umi ecatnt ad Redeye WW RAEN

5/16/2023 11:14 AM (Viewed 5/16/2023 11:15 AM)
PM Cluff (2076042618)

cluffn@mvminc.com

5/16/2023 12:11 PM
PM Cluff (2076042618)

please keep calling 72190 and ask them if they have your paperwork

5/16/2023 12:11 PM
Kaleb’s iPhone (+17875288049)

(e)

6/16/2023 3:18 PM
Kaleb‘s iPhone (+17875288049)

Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 20 of 73

PM Cluff (2076042618)

thank you very much

PM Cluff (2076042618)

you can call me now if you want i am alone

PM Cluff (2076042618)

6/16/2023 3:18 PM (Viewed 6/16/2023 3:58 PM)

6/30/2023 8:44 AM
Kaleb‘s iPhone (+17875288049)

Mal-t-re com e-]| avo el UHe-| an aa\-Mo) tixom \VCelale VA

6/30/2023 8:49 AM

6/30/2023 8:50 AM
Kaleb‘s iPhone (+17875288049)

A eV loll] <-Mcolhe-| an c-la-m coil)

7/3/2023 8:40 PM
Kaleb’s iPhone (+17875288049)

Maal Mmila=te ka

7/7/2023 5:11 PM
Kaleb’s iPhone (+17875288049)

Wat=\-Yo 4-10 oF-1¢- Mowe nar l1 Bs

7/7/2023 5:12 PM (Viewed 7/7/2023 5:13 PM)

you have it already. i sent you an email yesterday after the call with her

PM Cluff (2076042618)

ae is og
ae Rell ania
TVi6/22 4

Recap of Call on 7/6/22 z,
hailey bes nt leet

Nothor: Chall POS 2] eee

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food shersuis, i a

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( wibeeon aut cbcabas Camus asta arat etme shen TEI

PM Cluff (2076042618)

check your email

PM Cluff (2076042618)

did you get it?

7/7/2023 5:13 PM
Kaleb’s iPhone (+17875288049)

7/7/2023 5:13 PM

7/7/2023 5:13 PM

7/7/2023 5:13 PM
Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 21 of 73

7/7/2023 5:13 PM
Kaleb’s iPhone (+17875288049)

7/7/2023 5:14 PM (Viewed 7/7/2023 5:23 PM)

PM Cluff (2076042618)

ok so that is her email. is there something you need that your supervisor or myself cant help
you with?

7/7/2023 7:46 PM
Kaleb’s iPhone (+17875288049)

Jaren aal-M reall Com (elm coLo Ma @-1aNn Cola al-L< Malic om dalle st-19 of- Teer

7/8/2023 10:22 PM
Kaleb‘s iPhone (+17875288049)

Maat-tel-W-Manlie-]. <M lamaat--]e)em Olar-lal-iem mele lam mila cam aay acelin) Ac) om Mel) ater

7/24/2023 8:41 AM
Kaleb's iPhone (+17875288049)

mI MLAclm area oy ale-(olt-to Mi anl- Mu BLOW Mal-\-Lolh Coll c<1-[olalmtal-lan ay Varo mom] n\-le-¥4

7/24/2023 9:03 AM (Viewed 7/24/2023 9:04 AM)
PM Cluff (2076042618)

good morning, hr will reach out to you directly. if you would like to call hr you are more than
welcome

571.895.5500

7/25/2023 3:20 PM (Viewed 7/25/2023 3:44 PM)
PM Cluff (2076042618)

please call the taxi if you dont see her. remember it is a grey van
+1 (757) 305-0405

7/25/2023 3:51 PM
Kaleb’s iPhone (+17875288049)

I ETay hoe 1eTarel(olal—molayiUiare (lames TMale] ol -1e-mnte-]ey-){-Lo(oM fel T-llanllalt-melr-lave(oMan-m Ule-1celan |
(Yel gi xo} de)

7/25/2023 4:45 PM
Kaleb's iPhone (+17875288049)

cola Nat -m avole-1Am alm al-i-re Malmo (ela pal-1al cM(eLal-r6|

7/25/2023 4:48 PM (Viewed 7/25/2023 4:53 PM)

PM Cluff (2076042618)
Message was edited 7/25/2023 4:54 PM

they need to contact the number that was provided to them. they were also provided an email
address

571-223-4516

7/26/2023 5:21 AM
Kaleb’s iPhone (+17875288049)

a Mat Cel net =Wr-1eMalelal of-](e cele

29 total messages and 3 total images.
Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 22 of 73

(1) April 9, 2023
Medical Report on Citric Allergies
and Incident Report
9/22/23, 11:53 AM Encounter - Office Visit Date of service: 09/17/23 Patient: VIRNA L RUIZ RIVERA DOB: 04/18/1977 PRN: RV188370
PATIENT FACILITY ENCOUNTER
VIRNA L RUIZ RIVERA MMC Allergy Immunology Office Visit
DOB 04/18/1977 T (787) 621-3270 NOTE TYPE SOAP Note
AGE 46 yrs Calle Hernandez Carrion SEEN BY iona malinow MD
SEX Female 206 Subespecialistas Pediatricos DATE 09/17/2023
PRN RV188370 Manati, PR 00674 AGE AT DOS 46 yrs
Electronically signed by iona malinow MD
at 09/22/2023 11:53 am
Chief complaint
FA fruits

| Vitals for this encounter

09/17/23 |

| Temperature 98 °F

Pulse 81 bpm |

| Respiratory rate 17 bpm

| 92 Saturation 98 %

| Blood pressure
t a ne

Diagnoses

Was diagnosis reconciliation completed?
No selection made

Current — ACUITY START STOP

(T78.1XXA) Other adverse food reactions, not elsewhere
classified, initial encounter

(T78.2XXA) Anaphylactic shock, unspecified, initial encounter

(J31.0) Chronic rhinitis

(J45.909) Unspecified asthma, uncomplicated
Historical ACUITY START STOP

No historical diagnoses

Drug Allergies

Was medication allergy reconciliation completed?
No selection made

Active SEVERITY/REACTIONS ONSET

Penicillins Moderate -
Rash - localized

Food Allergies

Active SEVERITY/REACTIONS ONSET

on

orange Moderate -

https://static.practicefusion.com/apps/ehr/index.html#/PF/charts/patients/4cfea076-1d63-41f2-808e-1ce309ae3517/encounter/03ddc7d5-d564~4e71-9d... 1/4

Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 23 of 73

9/22/23, 11:53 AM Encounter - Office Visit Date of service: 09/17/23 Patient: VIRNA L RUIZ RIVERA DOB: 04/18/1977 PRN: RV188370
_Ahaphylaxis

Environmental Allergies
Active SEVERITY/REACTIONS ONSET

Medications:

Was medication reconciliation completed?
No selection made

“Active” SIG START/STOP ASSOCIATED DX

Ibuprofen (Advil) 200 MG Oral Capsule - -

“Historical BO SIG START/STOP ASSOCIATED DX

No historical medications recorded

Social nistory

_ TOBACCO USE| OO a — RECORDED

No tobacco use *history available for this patient

_ ALCOHOL USE SO Oo RECORDED

No alcohol use history available for this Patient

~ SOCIAL HIST! ORY (FREE-TEXT)

no smokers dogs

FINANCIAL RESOURCES SO RECORDED

"No financial resources recorded for this patient
EDUCATION RECORDED

No education recorded for this patient —

PHYSICAL ACTIVITY . a _ RECORDED

No physical activity available for this patient
"NUTRITION HISTORY a "RECORDED _

No nutrition history available for this patient
_ST RESS RECORDED

No stress available for this patient

SOCIAL ISOLATION AND CONNECTION Oo On OO RECORDED

No social isolation and connection available for this patient _

EXPOSURE TO VIOLENCE oe / RECORDED

No exposure to violence history available for this patient
GENDER IDENTITY a

No >) gender ic identity recorded for this patient
SEXUAL ORIENTATION

No sexual orientation recorded for this patient

https://static.practicefusion.com/apps/ehr/index.htm#/PF/charts/patients/4cfea076-1d63-41f2-808e-1 ce309ae351 7/encounter/03ddc7d5-d564~4e71-9d... 2/4
Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 24 of 73

9/22/23, 11:53 AM Encounter - Office Visit Date of service: 09/17/23 Patient: VIRNA L RUIZ RIVERA DOB: 04/18/1977 PRN: RV188370

Past medical history

MAJOR EVENTS

no hospitalizations no ER visits
SOCIALHISTORY

no smokers
dogs

Family health history

DIAGNOSIS * ONSET DATE

No Family health history recorded
FAMILY HEALTH HISTORY (FREE TEXT)

son with allergy

Subjective

FA orange- red eyes, throat irritation, sneezing- smell

or eating

needs autoinyector

IgE pineaple/orange/lemon all neg

IgE <16

was fired from work since did not saw client that had orange

rhinitis- congestion/rhinorrhea, 7/7 days, sneezing, itching

asthma: last albuterol use 2-3 mo ago while Cuba, no cough at night, no cough with exercise, weather changes yes, viruses

Objective

well in nad

tm's clear
oropharynx clear
cta

rrr
skin nl

Assessment

fa citrics

epipen prn anaphyalxis

avoid

influenza vaccine recommended

rhinitis

start astelin 1 spray/nostril gd and flonase sensmist 1 spray/nostril qd
SPT limited to ornage, pineapple, lemon: all negative but erased after 5 min secondary to cough, good pos control
saturation 99%

CTA

persistent dry cough

1120 am albuterol neb given

chest cta

sat 990bserved until 1150- better, cough decrased

https://static.practicefusion.com/apps/ehr/index.htm##/PF/charts/patients/4cfea076-1d63-4 1f2-808e-1ce309ae3517/encounter/03ddc7d5-d564-4e71-9d... 3/4
9/22/23, 11:53 AM

avoid citrics

Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 25 of 73

Encounter - Office Visit Date of service: 09/17/23 Patient: VIRNA L RUIZ RIVERA DOB: 04/18/1 977 PRN: RV188370

as above

Red Practice fusion

https://static.practicefusion.com/apps/ehr/index.html#/PF/charts/patients/4cfea076-1d63-41f2-808e-1ce309ae3517/encounter/03ddc7d5-d564-4e71-9d... 4/4
Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 26 of 73

IONA K. MALINOW, MD, FAAP
ALLERGY | IMMUNOLOGY

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NPI 1821186875

IONA K. MALINOW, MD, FAAP
ALLERGY | IMMUNOLOGY

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bembauiiab tiie,” to Nal tarot ULL col ee eee ee idshahe ee yE nee) |

Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 27 of 73

(6) May 20, 2023

Saturday - May 20, 2023 -
12:25 PM

@& IMG_0684

Apple iPhone 14

Main Camera — 26 mm f1.5

12 MP + 3024x 4032 - 1.7 MB
1S064 26mm Oev FtiS 1/120s
Guantanamo Bay Adjust

Show in All Photos

4 Qo e Ww
Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23

(5) May 10, 2023

Labs, Prescription, Referral, and Document with date of
Given Insurrence Information by Management

@
G) ae Astrid Arce Ramos

Medicina General

Calle Betances #53 Tel (787)-874-3013
Utuado, Puerto Rico 00641 Fax (787)-814-8062
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at gO eS
R CPc
UIA
Gnu

G04.) he.

i pies. Astrid Arce Ramos

c.

DEAg ee

DM (NO REPETIR

1 REPETIR___ VECES
VPI 1811108459

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Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 29 of 73

Rx Tracer #:67b2aa35ba6d46f38cfeeb0el 9d28187 Rx Nbx: 07670161
Prescriber#:BMuOu
Electronic Information For New Prescription From The Prescriber (COPY)

Patient: RUIZ RIVERA, VIRNA Phone: (787) 528-8049
URB ALTURAS DE UTUADO CALLE CASCADA Birth: 04/18/1977
Utuado, PR 00641 Gender: F
py Ce
Prescriber: Arce Ramos , Astrid L faryeo™
Agent Name: Loe
DEA #: FA2330304 LIC: 16721
NPI #: 1811108459 Sender ID: 6112008225007
Address: 309 CALLE FERNANDO L GARCIA Phone: (787) 894-3013

UTUADO, PR 00641
Electronically Signed By: Astrid Arce Ramos

Written: 05/11/2023 Eitective: 05/11/2023

Sent: 05/11/2023 7:42pm Intended Phy: FARMACIA CINTRON INC

Drug: FLOVENT HFA CFC FREE 220 MCG/INH INHALATION

Diagnosis:

Qty: 1 Days Supply: 30
Refills: 0 DAW: 0

PUC: Bach

SIG: 1 INH BID

Free Text:
Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 30 of 73

Rx Tracer #:4318b658383£64698a4f1£9765cd1914d Rx Nbr: 07670162
Prescriber#:BMuOu
Rlectronic Information For New Prescription From The Prescriber (COPY)

Patient: RUIZ RIVERA, VIRNA Phone: (787) 528-8049
URB ALTURAS DE UTUADO CALLE CASCADA Birth: 04/18/1977
Utuado, PR 00641 Gender: F

Prescriber: Arce Ramos , Astrid L po dp ee

Agent Name: LU
DEA #: FA2330304 Lic: 16721
NPI #: 1811108459 Sender ID: 6112008225007

Address: 309 CALLE FERNANDO L GARCIA Phone: (787) 894-3013

UTUADO, PR 00641
Electronically Signed By: Astrid Arce Ramos

Written: 05/11/2023 Effective: 05/11/2023

Sent: 05/11/2023 7:42pm Intended Phy: FARMACIA CINTRON INC

Drug: ALBUTEROL SULFATE 2.5 MG/3 ML (0.083%) INHALATION

Diagnosis:

Qty: i Days Supply: 30
Refills: 0 DAW: O

PUC: Each

SIG: 1 inh gid

Annotation: Prescribing Doctor Contacted = NO
1) DR CALL DRA ARCE INDICO DESPACEAR CAJA DE 60 AMPOLLETAS KOY 5/12/23 INC 05/12/23 07:34 JNC
Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 31 of 73

Ry Tracer #:4¢0553575f£944decb37ffcbd10S556F39 Rx Nbr: 07870174
Prescriber#:3Mu0u

Blectronic Information For New Prescription From The Prescriber (COPY)

Patient: RUIZ RIVERZ, VIRNA Phone: (787) 528-8045
URB ALTURAS DE UTUADO CALLE CASCADA Birth: 04/18/1577
Utuado, PR 00641 Gencer: F

Prescriber: Arce Ramos , Astrid L

Agent Name:

DEA #: FA2330304 BIC: 16723
NEI #: 1811108455 Sender ID: 6112008225007
Address: 309 CALLE FERNANDO L SARCIA Phone: (787) 394-3013

UIUADC, PR 60641

Electronically Signed By: Astrid Arce Ramos

Written: 95/11/2023 Effective: 05/11/2023

Sent: 05/11/2023 7:42pm Intended Phy: FARMACIA CINTRON INC mn
yy

Drug: CHILDREN GILTUSS COUGH AND CHEST CONGESTION 1¢ MG-100 MG/5 ML CRAL an, | }

Diagnesis:

Qty: 180 Davs Supply: 39
Refilis: 0 DAW: C

pUC: Milliliter

SIG: add prednisone albuterol razon 1 a l tomar 19 ml vo tid
Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 32 of 73

| FAXCOVERSHEET |

U.S. NAVAL HOSPITAL GUANTANAMO BAY, CUBA

Mailing Address: PSC 810 BOX 185
FPO, AE 09589

Phone: 757-458-2998 opt. 1 ext. 72006
Fax: 757-458-3724

DEP: Referral Management

FROM: U.S. Naval Hospital Guantanamo Bay, Cuba

Email: usn gtmo.navhospgtmocu list.gtmo-referral-management@mail.mil

POC: Vanessa Lerma Jones ee Email: Vanessa Jermajones civ@health mil
Phone:757-458-2998 opt. 1 ext. 2006 - Fax: 757-458-3724
Date:
TO: ATTN:
Address:
Fax: - Pages
Phone a |
Re:

Thank you so very much for your assistance with this request. Please contact me by email if you need
further information.

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James Tracy

From: MVM - Benefits

Sent: Friday, June 16, 2023 10:05 AM
To: James Tracy; MVM - Benefits
Subject: RE: Virna Ruiz Employee# E068217
Hi James,

}

|
|

Please advise the employee to contact Cigna directly. They can do this by calling Cigna's dedicated support line at 800-853-2713.

number, which is 3345267.

MVM-Benefits

benefits@myminc.com

Corporate Services
19775 Belmont Executive Plaza, Suite 400, Ashburn, VA 20147

From: James Tracy <tracyj@mvminc.com> \
Sent: Friday, June 16, 2023 8:40 AM
To: MVM - Benefits <benefits@mvminc.com>

Subject: Virna Ruiz Employee# E068217

Virna Ruiz Employee# E068217 is looking for the login information for the CIGNA health plan.
Respectfully,

James P. Tracy

Deputy Program Manager

GITMO
C 3184462535

They will need to provide group
Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 34 of 73

(7) Messages between Lt. Krul and I (Pg. 6 to pg. 7)
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(8) June 8, 2023
Messages between Lt. Krul and I (pg. 7 to pg. 8)
Work Schedule
June 2023
SUN MON TUES WED THURS | FRI SAT
1- C-CARD 2 ACARD 3- A-CARD
SUP. AGUILERA | SUP. ORTIZ SUP. ORTIZ
YOUNG RUIZ RUIZ
HERNANDEZ YOUNG TROCHE
DIAZ HERNANDEZ DIAZ
RICHARD ALVAREZ ALVAREZ
D-CARD B-CARD B-CARD
SUP MURPHY SUP. ORENGO SUP. ORENGO
GARCIA STEWART STEWART
| WILKINS GRAHAM GRAHAM
COLEMAN EUGENE EUGENE
EVERETT GARCIA WILKINS
4- A-CARD 5-C-CARD 6- C-CARD 7- A-CARD 8- A-CARD 9-C-CARD 10- C CARD
SUP. ORTIZ SUP. AGUILERA SUP. AGUILERA SUP. ORTIZ SUP. ORTIZ SUP. AGUILERA | SUP. AGUILERA
RUIZ YOUNG YOUNG RUIZ | RUIZ YOUNG YOUNG
ALVAREZ HERNANDEZ HERNANDEZ ALVAREZ | ALVAREZ HERNANDEZ HERNANDEZ
TROCHE DIAZ DIAZ TROCHE TROCHE DIAZ DIAZ
RICHARD RICHARD RICHARD PAN PAN RICHARD RICHARD
B-CARD D-CARD D-CARD B-CARD B-CARD D-CARD D-CARD
SUP. ORENGO SUP MURPHY SUP MURPHY SUP.ORENGO | SUP.ORENGO SUP MURPHY SUP MURPHY
STEWART GARCIA GARCIA STEWART STEWART GARCIA GARCIA
GRAHAM WILKINS WILKINS GRAHAM GRAHAM WILKINS WILKINS
EUGENE COLEMAN COLEMAN EUGENE EUGENE COLEMAN COLEMAN
COLEMAN EVERETT EVERETT WILKINS GARCIA EVERETT EVERETT
11- C-CARD 12- A-CARD 13- A-CARD 14- C-CARD 15- C-CARD 16- A-CARD 17- A-CARD
SUP. AGUILERA | SUP..ORTIZ SUP. ORTIZ SUP. AGUILERA SUP. AGUILERA | SUP. ORTIZ SUP. ORTIZ
YOUNG RUIZ RUIZ YOUNG YOUNG RUIZ RUIZ
HERNANDEZ | ALVAREZ ALVAREZ __| HERNANDEZ HERNANDEZ ALVAREZ ALVAREZ
DIAZ TROCHE TROCHE DIAZ DIAZ TROCHE TROCHE
RICHARD PAN PAN | RICHARI | PAN SS RICHARD RICHARD
SAMANIEGO OJT | SAMANIEGO OJT = SAMANIEGOOJT =| SAMANIEGO OJT
D-CARD B-CARD B-CARD D-CARD D-CARD B-CARD B-CARD
SUP MURPHY SUP.ORENGO | SUP.ORENGO SUP. MURPHY SUP. MURPHY SUP.ORENGO SUP.ORENGO
GARCIA STEWART STEWART GARCIA GARCIA STEWART STEWART
WILKINS EUGENE EUGENE EUGENE EUGENE EUGENE
COLEMAN GRAHAM EVERETT LKINS GARCIA WILKINS
EVERETT EVERETT GRAHAM EVERETT GRAHAM GRAHAM
18- A-CARD 19- C-CARD 20 C-CARD 21- A-CARD | 22- A-CARD 23-C-CARD 24- C-CARD
SUP. ORTIZ SUP. AGUILERA SUP. AGUILERA SUP ORTIZ SUP ORTIZ SUP. AGUILERA | SUP. AGUILERA
RUIZ YOUNG YOUNG RUIZ RUIZ YOUNG YOUNG
ALVAREZ HERNANDEZ HERNANDEZ | ALVAREZ | ALVAREZ HERNANDEZ HERNANDEZ
TROCHE DIAZ DIAZ | TROCHE TROCHE DIAZ DIAZ
RICHARD PAN PAN ) RICHARD RICHARD PAN PAN
B-CARD D-CARD D-CARD | B-CARD B-CARD D-CARD D-CARD
SUP.ORENGO SUP. MURPHY SUP. MURPHY SUP.ORENCO SUP.ORENGO SUP. MURPHY SUP. MURPHY
STEWART GARCIA GARCIA TEWART | STEWART GARCIA GARCIA
EUGENE SAMANIEGO STEWART EUGENE EUGENE GRAHAM SAMANIEGO
SAMANIEGO WILKINS WILKINS SAMANIEGO SAMANIEGO WILKINS WILKINS
GRAHAM EVERETT EVERETT GRAHAM GRAHAM EVERETT EVERETT

02/21/23
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25- C-CARD 26- A-CARD 27- A-CARD 28-C-CARD 23-C-CARD | 30- A-CARD
SUP. AGUILERA SUP. ORTIZ SUP. ORTIZ SUP. AGUILERA SUP. AGUILERA | SUP. ORTIZ
YOUNG RUIZ RUIZ YOUNG YOUNG | RUIZ
HERNANDEZ ALVAREZ ALVAREZ HERNANDEZ | ALVAREZ
DIAZ TROCHE TROCHE TROCHE
PAN RICHARD RICHARD RICHARD
D-CARD B-CARD B-CARD D-CARD | D-CARD B-CARD
SUP. MURPHY SUP.ORENGO SUP.ORENGO SUP. MURPHY SUP. MURPHY SUP.ORENGO
GARCIA STEWART | STEWART GARCIA GARCIA STEWART
STEWART EVERETT | SAMANIGO GRAHAM STEWART SAMANIEGO
WILKINS SAMANIEGO GARCIA WILKINS WILKINS GARCIA
EVERETT GRAHAM GRAHAM EVERETT EVERETT GRAHAM

OFC’S ON LEAVE:

OFC TROCHE

| 5/24-6/2

OFC PAN

05/30-6/6

OFCCOLEMAN

6/13-7/7

Supervisors: Red, Females: Green
THIS SCHEDULE IS SUBJECT TO CHANGE, PLEASE BE SURE TO CHECK THE SCHEDULE DAILY.

DO NOT REMOVE OR CHANGE UNLESS AUTHORIZED BY ADMIN. J. Tracy, DPM.

. 02/21/23
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(10) June 28, 2023 Messages between Lt. Krul and I (pg. 13 to pg. 15)
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(11) June 29, 2023 Messages between Lt. Krul and I (pg. 14 to pg. 15)
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(12) June 30, 2023 Messages between PM. Cluff and I (pg. 1 to pg. 2)
Email conversation with MVM Headquarters Jazmin Garcia,
Barbara Walrath, Vicki Howard and HR Ofelia Viesca.

Offer letter “Contract”

Incident Report

July Work Schedule

Benefits Enrollment and Payrolls from March 2023 to July 2023
9/25/23, 1:21 PM Mail - Virna Lisys - Outlook

RE: Offer Letter - per your request

Ofelia Viesca <viescao@mvminc.com>
Mon 7/17/2023 7:23 PM
To:Virna L. Ruiz <virnalizy@hotmail.com>

Hello Virna, | apologize for that. That should not been happening moving forward since the supervisor is now an
Officer.

Ofie

From: Virna Lisys <virnalizy@hotmail.com>
Sent: Monday, July 17, 2023 2:25 PM

To: Ofelia Viesca <viescao@mvminc.com>
Subject: Re: Offer Letter - per your request

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attachments, clicking links, or responding to this email.

Thank you for sending me the letter. The reason whin | asked for it, was because | was doing supervisor
job, translation and monitoring calls, and the post and other responsibilities. When other employers
only do their post and get the same pay.

From: Ofelia Viesca <viescao@mvminc.com>

Sent: Monday, July 17, 2023 11:47 AM

To: Virna L. Ruiz <virnalizy@hotmail.com>

Ce: Jazmin Madrigal Garcia <madrigalgarciaj@mvminc.com>
Subject: Offer Letter - per your request

Hello Virna, attached is a copy of your offer letter. | believe you had requested to see a contract, we only provide
offer letters.

Please let me know if you have any questions.

Thank you, Ofie

Ofelia “Ofie” Viesca | HR Business Partner

MVM, Inc. | 0 571.895.5500 | ¢ 571.541.6056 | e viescaa@mvminc.com

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to contract electronically.

From: Vicki Howard <HowardVi@mvminc.com>
Sent: Thursday, July 6, 2023 11:20 AM
To: Pia Kimble <kimblep@mvminc.com>; Ofelia Viesca <viescao@mvminc.com>; Barbara Walrath

https://outlook.live.com/mail/O0/id/AQMkKADAWAT YOMDABLTIOTYtYZEwMSOWMAItMDAKAEYAAAP%2B0cvuVDogT pEWxqeGUzfsBwDTS8lIcxrLbPRo6... 1/4
Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 40 of 73

9/25/23, 1:21 PM Mail - Virna Lisys - Outlook

<walrathb@mvminc.com>; Jazmin Madrigal Garcia <madrigalgarciaj@mvminc.com>
Cc: Blanca Baca <BacaB@mvminc.com>
Subject: RE: Documents

Hi Pia,
Attached is a copy of the offer letter for Virna Ruiz. Let me know if you need anything else.

V/R,

Vicki Howard | Manager, Talent Acquisition

MVM Inc. |o 571-431-1416 | e HowardVi@mvyminc.com
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From: Pia Kimble <kimblep@mvminc.com>

Sent: Thursday, July 6, 2023 10:40 AM

To: Vicki Howard <HowardVi@mvminc.com>; Ofelia Viesca <viescao@mvminc.com>; Barbara Walrath
<walrathb@mvminc.com>; Jazmin Madrigal Garcia <madrigalgarciaj@mvminc.com>

Cc: Blanca Baca <BacaB@mvminc.com>

Subject: RE: Documents

Vicki,
Could you please send us a copy of her offer letter?
Pia

From: Vicki Howard <HowardVi@mvminc.com>

Sent: Monday, July 3, 2023 12:34 PM

To: Ofelia Viesca <viescao@mvminc.com>; Barbara Walrath <walrathb@mvminc.com>; Jazmin Madrigal Garcia
<madrigalgarciaj@mvminc.com>

Cc: Blanca Baca <BacaB@mvminc.com>; Pia Kimble <kimblep@mvminc.com>

Subject: RE: Documents

Hi Ofie,
Since this individual is an employee, it would be better if people services reaches out to her regarding her
request. At this time, it is just a request to get a copy of her contract.

Please let me know if you would like to discuss it further.
Thank you,

Vicki Howard | Manager, Talent Acquisition

MVM Inc. |o 571-431-1416 | e HowardVi@mvminc.com

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https://outlook.live.com/mail/0/id/AQMkADAWATYOMDABLTIIOT YtYZEwMSOWMAItMDAKAEYAAAP%2B0cvuVDogT pEWxqeGUzfsBwDT8icxrLbPRo6... 2/4
Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 41 of 73

9/25/23, 1:21 PM Mail - Virna Lisys - Outlook

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From: Ofelia Viesca <viescao@mvminc.com>

Sent: Monday, July 3, 2023 12:06 PM

To: Barbara Walrath <walrathb@mvminc.com>; Jazmin Madrigal Garcia <madrigalgarciaj@mvminc.com>
Ce: Vicki Howard <HowardVi@mvminc.com>; Blanca Baca <BacaB@mvminc.com>; Pia Kimble
<kimblep@mvminc.com>

Subject: Re: Documents

Good morning Jazmine, Barbara's correct we do not have a contract. It's only an offer letter. The employment is at
will.

Barbara have we ever deducted the travel costs from any employer that has not stayed for less than a year? | have
not seen that since I've been with a MVM.

Get Outlook for iOS

From: Barbara Walrath <walrathb@mvminc.com>
Sent: Monday, July 3, 2023 10:25:33 AM
To: Jazmin Madrigal Garcia <madrigalgarciaj@mvminc.com>

Cc: Ofelia Viesca <viescao@mvminc.com>; Vicki Howard <HowardVi@mvminc.com>
Subject: Re: Documents

Jazmin,

They do not have a contract although they are advised if they do not stay for a year we can deduct their travel
costs.

Barbara

Sent from my iPhone

On Jul 3, 2023, at 9:49 AM, Jazmin Madrigal Garcia <madrigalgarciaj@mvminc.com> wrote:

Good Morning Ofie,

| just wanted to forwarded you this request. This GTMO employee Virna L. Ruiz Rivera is asking for a
copy of her contract (see below).

Thank you,

Jazmin Madrigal Garcia | Talent Acquisition Recruiter

MVM Inc. |o 540-403-8355] e madrigalgarciaj@mvminc.com
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https://outlook.live.com/mail/0/id/AQMkKADAWAT YOMDABLTIIOTYtYZEwMSOwMAItMDAKAE YAAAP%2B0cvuVDogT pEWxqeGUzfsBwDT8IcxrLbPRo6... 3/4
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9/25/23, 1:21 PM Mail - Vima Lisys - Outlook

From: Virna Lisys <virnalizy@hotmail.com>

Sent: Friday, June 30, 2023 4:13 PM
To: Jazmin Madrigal Garcia <madrigalgarciaj@mvminc.com>

Subject: Documents

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when opening attachments, clicking links, or responding to this email.

Can | have a copy of my contract?

Thank you;

Virna Lisys Ruiz Rivera

https://outlook.live.com/mail/0/id/AQMkADAWATYOMDABLTIIOTYtYZEwMSOwMAItMDAKAEYAAAP%2B0cvuVDogT pEWxqeGUzfsBwDT8lcxrLbPRo6... 4/4
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mM"

03/06/2023

Virna L. Ruiz
Urb Alts De Utuado Casacada de Ensueno 874
Utuado, Puerto Rico 00641

Dear Virna L.:

Congratulations! On behalf of MVM, Inc., | am pleased to extend our offer of employment to you as an Unarmed
Security & Custody Officer. This position currently reports to Barbara Walrath, Operations Manager.

Your initial assignment will be in support of ICE GTMO & #HSCEDM-17- D - 00011. Your work location is the Migrant
Operations Center, Guantanamo Bay Naval Station, Cuba.

Please find below the terms and conditions of your employment, should you accept this offer letter:

Contingency: This employment offer is contingent upon the satisfactory outcome of a personal background check,
which may include professional references, verification of previous employment and education, a criminal
background check, drug screening, a medical examination, a Department of Motor Vehicles (DMV) check, and/or a
consumer credit check and the ability to retain or obtain a Navy Base Clearance any and all client-required security
clearances as well as client acceptance of your qualifications.

Start Date: Your start date is scheduled for Thursday, March 9, 2023.

Cash Compensation: Your starting hourly rate will be $30.00 earned and payable in bi-weekly installments with our
standard payroll practices.

Benefits: As an employee, you can participate in all benefit programs where eligibility requirements are met. If you
choose to participate, benefits are effective on the first day of the month following your start date or coincident with
your date of hire. You will be provided with a copy of the Employee Handbook and supporting materials with details
regarding these benefits if you accept our offer and become employed by MVM.

Station Terms: As part of your acceptance for this position in Guantanamo Bay, you agree to be stationed at the
Guantanamo Bay, Cuba location for a minimum of one year. Should you not remain at Guantanamo Bay for this
minimum period of time, you agree to repay MVM, Inc., through payroll deduction and any leave balance, for all travel
expenses incurred to locate you to Guantanamo Bay and to return you to your home location in the United States,
Puerto Rico, or Virgin Islands. Exceptions to this rule will only be made either in the event of your own medical
emergency requiring you to leave Cuba or a qualifying FMLA event. Your signature at the end of this letter confirms
your understanding and agreement to reimburse MVM should you not remain employed with MVM for a minimum of
one year.
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—_____ \
NV"

Treatment of Confidential Information from Prior Employment: This employment offer is being extended to you based
on your general skills and experience, and not based on your knowledge of confidential information from any previous
employer or client. The Company expressly prohibits you from using or disclosing, in conjunction with your job duties,
any confidential information that you may have obtained from any prior employer or client. Furthermore, it is the
Company's understanding that you do not have any non-compete or obligations to any prior employer or client that
would preclude you from performing your job duties for the company. By accepting this offer, you are confirming that
to be the case.

Privacy: It is a condition of your employment that you sign MVM’s Confidentiality Agreement, Code of Ethics, Conduct
and Responsibility Acknowledgement and any other Employee Agreement forms upon employment.

Employment Relationship: Your employment with MVM will be “at will.” This clause applies to both yourself and MVM,
and means that either you or MVM may terminate your employment at any time and for any reason, with or without
cause. Should you decide to terminate your employment, MVM requests a minimum of two (2) weeks’ advance
notice. Your employment is subject to MVM’s personnel policies and procedures, which may be changed or modified
from time to time. It is MVM’s policy that all new employees are assigned a 90-day introductory period.

Drug Testing: MVM maintains a drug-free workplace, and may require its employees to submit to random drug testing
in addition to the pre-employment drug screening. A copy of MVM’s Drug-Free Workplace and Drug Testing Policy is
included in the company’s Employee Handbook.

Employment Eligibility Verification: By Law, MVM is required to verify your eligibility for employment in the United
States, therefore, you will be asked to provide proof of identity and eligibility to work in the U.S. on your first day of
employment. By law, we must receive proof of identity and eligibility within 3 days of your start date with MVM, Inc.

Form I-9 Completion Instructions: An MVM employee will witness your Form I-9 and complete the Employer portion of
the form. It is imperative that you bring your original supporting form(s) of identification to complete the Form |-9.
Further information on acceptable documents can be found at - https://www.uscis.gov/i-9-central/acceptable-
documents.

Summary: Upon acceptance of MVM’s offer of employment and completion of your hiring process, you will receive an
email within 48 hours from kmkp@myworkday.com to initiate your employee on-boarding with MVM. To facilitate a
smooth hiring process, it is important that you read/review the instructions provided in the email and complete the
necessary 8 onboarding tasks assigned to you via your “Employee Workday Account” before your first day of
employment.

We look forward to having you join our team and believe that your expertise and experience will be an asset to the
company as we pursue future opportunities together.

For questions regarding your offer or the pre-employment process, please contact your Talent Acquisition Recruiter.
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mM"

\f the foregoing terms are acceptable to you, please sign and date this letter in the space indicated below, then return
the original letter using MVM Workday, MVM's online onboarding system and retain a copy for your records.

Sincerely,

Crystal Wheeler
Chief People Officer

Signature:
{{Signature_es_:signer2:signature}}
{{Date_es_:signer2:date}}
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—)\_
VM

Migrant Operations Center

INCIDENT REPORT
Date: 06/30/2023 Time of incident:
Reporting Officer: Ruiz
[ ] Person (s) [ ] Sanitation [ | Safety | ] Maintenance [ ] Other:
"DESCRIPTION OF INCIDENT

June 30, 2023. AT APROX 2030 WHILE I WAS DOING A THE M.O.C. CHECK, | SAW MIGRANT JOSE
INSIDE THE LADIES ROOM.

June 30, 2023. AT APROX 2130 WHILE | WAS DOING A M.O.C. CHECK: | WAS GOING UP THE
STAIRS, WHEN SECOND FLOOR DOOR WAS OPENED, | HEARD AND ARGUMENT BETWEEN
MIGRANT JOSE M. RODRIGUEZ AND MIGRANT WALQUIRIA VELIZ. SHE WAS USING A CROCH
GOING DOWN THE STAIRS. MIGRANT ALEXANDER TRUJILLO ENCOURAGE MIGRANT JOSE M.
RODRIGUEZ TO THROW MIGRANT WALQUIRIA VELIZ THROUGH THE STAIRS.

pate: (¢-3f --2023

DATE: lls [23 ,

MVM, INC.
Service Success and Support
44620 Guilford Drive - Suite 150 - Ashburn - VA - 20147-6063
Tel (571) 223-4500 - Fax (571) 223-4474 - VA Lic. #11-1259

Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 47 of 73

July 2023

be
SUN MON TUES | WED THURS FRI SAT
5 1-B-CARD
SUP. ORENGO
| STEWART
GRAHAM
EVERETT
SAMANIEGO
A-CARD
| SUP. ORTIZ
RUIZ
TROCHE
| RICHARD
| ALVAREZ
2 B-CARD 3-D-CARD 4- D-CARD 5- B-CARD = 7-D-CARD | 8-D CARD
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STEWART GARCIA GARCIA STEWART STEwse GARCIA | GARCIA
GRAHAM WILKINS WILKINS GRAHAM GIAHAM WILKINS | WILKINS
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Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 48 of 73

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23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 49 of 73

Case 3

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Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 50 of 73

Earnings Statement

MVM INCORPORATED Period Beginning: 03/19/2023
44620 GUILFORD DR STE 150 Period Ending: 04/01/2023
ASHBURN, VA 20147 Pay Date: 04/14/2023

VIRNA L. RUIZ

Filing Status: Single/Married jiling separately ALTS DE UTUADO 874
Exemptions/Allowances:
Federal: Tax Exenipt UTUADO PR 00641
Earnings rate hours this period year to date Other Benefits and
Regular ~ 30/0000 . = 178.00 © 5,340.00 5,340.00 Information * 2 this: period: total to date
& 5,340.00 Sick Avail Hrs EE 3.08
Vaca’ Avail Hrs % S . 3.08
Deductions _ Statutory Important Notes
Social Security Tax -324.13 324.13 COMPANY PH #: 571-223-4500
_ ... Medicare Tax 75.80 8 ee i ncaa
PR: State-Income Tax -1,305.86 1,305.86 Additional Tax withholding information =
Taxable Marital Status:
PR SDI Tax -16.02 16.02 PR: Single
Other
Cafe Plan Ins. -112.07* 112.07

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* Excluded from federal taxable wages

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Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 51 of 73

Earnings Statement 5

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MVM INCORPORATED Period Beginning: 04/02/2023

44620 GUILFORD DR STE 150 Period Ending: 04/15/2023

ASHBURN, VA 20147 Pay Daie: 04/28/2023

VIRNA L. RUIZ
Filing Status: Single/Married filing separaiely ALTS DE UTUADO 874
Exemptions/Allowances:
Federal: Tax Exempt UTUADO PR 00641

Earnings tate hours this period year to date Other Benefits and
Regular 30.0000 84.00 2,525.00 7,866.60 Information this period total to date

{$2,520.90 7,860.00 Sick Avail Hrs 4.62

Vaca Avail Hrs 6.16
Deductions Statutory Important Notes
Social Security Tax -149.29 473.42 | COMPANY PH # 571-223-4500
Medicare Tax -34.92 110.72 nt stat Be en pie te i .
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“PR Siate Income Tax -375.26 1,681 is a eee
Taxable Marital Status:
PR SDI Tax -7.56 23.58 PR: Single
Other 3
Cafe Plan Ins. -112.07* 224.14 2
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; MVM INCORPORATED Advice number: ——~_: 00000170423» |
44620 GUILFORD DR:-STE 150 i 04/28/2023
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COMPANY PH#:571 -223-4500
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Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 52 of 73

SEQ 000377

MVM INCORPORATED
44620 GUILFORD DR STE 150
ASHBURN, VA 20147

Filing Status: Single/Married filing separately
Exemptions/Allowances:
Federal: Tax Exempt

Earnings rate hours this period year to date
Regular 30.0000 96.00 __- 2,880.00 10,740.00
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Deductions _ Statutory

Social Security Tax -171.61 645 .03
__Medicare Tax __ 740.13 150.85 __

PR State Income Tax -494 .06 2,175.18

PR SDI Tax -3.42 27.00

Other

Cafe Plan Ins. -112.07* 336.21

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* Excluded from federal taxable wages

Earnings Statement

Period Beginning: 04/16/2023
Period Ending: 04/29/2023
Pay Daie: 05/12/2023

VIRNA L. RUIZ
ALTS DE UTUADO 874
UTUADO PR 00641

Other Benefits and

information this period total to date
Sick Avail Hrs 6.16
Vaca Avail Hrs 9.24

Important Notes
COMPANY PH #: 571-223-4500

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SDI TAX LIMIT.

Additional Tax Withholding Information
Taxable Marital Status:
PR: Single

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MVM INCORPORATED

A4620 GUILFORD DR STE 150
ASHBURN, VA 20147
COMPANY PH#:571 -223-4500

Deposited to the account of
VIRNA L. RUIZ

Pay date:

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Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 53 of 73

SEQ 000464

MVM INCORPORATED
44620 GUILFORD DR STE 150
ASHBURN, VA 20147

Filing Status: Single/Married filing separately

Earnings Statement

Period Beginning: 04/30/2023
Period Ending: 05/13/2023
Pay Date: 05/26/2023

VIRNA L. RUIZ
ALTS DE UTUADO 874

Exemptions/Allowances:
Federal: Tax Exempt UTUADO PR 00641
Earnings rate hours this period year to date Other Benefits and
Regular 30.0000 92.00 2.760.00 43,500.00 Information this. period total to date
13,500.00 Sick Avail Hrs 7.70
Vaca Avail Hrs 12.32
Deductions _ Statutory Important Notes
Social Security Tax -164.18 809.21 COMPANY PH #: 571-223-4500
_ _Medicare Tax -38.40 189.25
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PR State Income “Ta 454.46 2,629.64 Addi tionai “Tax Withholding information
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44620 GUILFORD DR STE 150 Pay date 05/26/2023

ASHBURN, VA 20147
COMPANY PH#:571 -223-4500

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VIRNA L. RUIZ

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MVM INCORPORATED
44620 GUILFORD DR STE 150
ASHBURN, VA 20147

Filing Status: Single/Married filing separately
Exemptions/Allowances:
Federal: Tax Exempt

Earnings rate hours this period year to date
Regular 30.0000 86.00 2,580.00 16,080.00
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Deductions Statutory
Social Security Tax -153.01 962.22
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PR State Income Tax -395.06 3,024.70
PR SDI Tax 27.00

Other

Cafe Plan Ins. -112.07* 560.35

* Excluded from

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Filed 10/03/23 Page 54 of 73

Earnings Statement Jay
Period Beginning: 05/14/2023
Period Ending: 05/27/2023
Pay Date: 06/09/2023

VIRNA L. RUIZ

ALTS DE UTUADO 874

UTUADO PR 00641
Other Benefits and
Information this period total to date
Sick Avail Hrs 9.24
Vaca Avail Hrs 15.40

Important Notes
COMPANY PH #: 571-223-4500

, Additional Tax Withholding information—————

Taxable Marital Status:
PR: Single

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MVM INCORPORATED
44620., GUILFORD DR STE 150
ASHBURN, VA 20147
COMPANY; PH#:571 -223-4500

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VIRNA L. RUIZ

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SEQ 000565

MVM INCORPORATED
44620 GUILFORD DR STE 150
ASHBURN, VA 20147

Filing Status: Single/Married filing separately
Exemptions/Allowances:
Federal: Tax Exempt

Earnings Statement

Period Beginning: 05/28/2023
Period Ending: 06/10/2023
Pay Date: 06/23/2023

VIRNA L. RUIZ
ALTS DE UTUADO 874
UTUADO PR 00641

Earnings rate hours this period year to date Other Benefits and
Regular 30.0000 96.00 2,880.00 18,960.00 information this period total to date
Holida 30.0000 8.00 240.00 Sick Avail Hrs 10.78
19,200.00 Vaca Avail Hrs 18.48
Important_Notes
Deductions _ Statutory COMPANY PH #: 571-223-4500
Social Security Tax -186.49 1,148.71 . oe /
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Medicare Tax -43.62 268.65 Tababie Manial Status:
PR State Income Tax -573.26 3,597.96 PR: Single
PR SDI Tax 27.00 /
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Cafe Plan Ins. -112.07* 672.42 3
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Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 56 of 73

SEQ 000298

MVM INCORPORATED
44620 GUILFORD DR STE 150
ASHBURN, VA 20147

Filing Status: Single/Married filing separately

Earnings Statement

Period Beginning: 06/11/2023
Period Ending: 06/24/2023
Pay Date: 07/07/2023

VIRNA L. RUIZ
ALTS DE UTUADO 874

Exemptions/Allowances:
Federal: Tax Exempt UTUADO PR 00641
Earnings rate hours this period year to date Other Benefits and
Regular 30.0000 92.00 2,760.00 21,720.00 Information this period total to date
Holida 240.00 Sick Avail Hrs 12.32
21,960.00 Vaca Avail Hrs 21.56
Important Notes
Deductions _ Statutory COMPANY PH #: 571-223-4500
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. . Taxable Marital Status:
PR State Income Tax -454.46 4,052.42 PR Single
PR SDI Tax 27.00
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COMPANY PH#:571 -223-4500

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VIRNA L. RUIZ

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Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 57 of 73

SEQ 000512

MVM INCORPORATED
44620 GUILFORD DR STE 150
ASHBURN, VA 20147

Filing Status: Single/Married filing separately
Exemptions/Allowances:
Federal: Tax Exempt

Earnings Statement

Period Beginning: 06/25/2023
Period Ending: 07/08/2023
Pay Date: 07/21/2023

VIRNA L. RUIZ
ALTS DE UTUADO 874
UTUADO PR 00641

Earnings rate hours this period year to date Other Benefits and
Regular 30.0000 86.00 2,580.00 24,300.00 Information this: period total to date
Holida 30.0000 12.00 360.00 606.00 Totl Hrs Worked 86.00
25 /200/00 Sick Avail Hrs 13.86
Vaca Avail Hrs 24.64
Deductions _ Statutory
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oH mie ocial Security Tax ________.-175.33______1,488.21 __Conpany po-5712234S00---
Medicare Tax -41 .01 348.05
PR State Income Tax -513.86 4,566.28 BASIS OF PAY: HOURLY
PR SDI Tax 27.00
Other . . . .
Cafe: Plan. ins. -412.07* go6.56 Additional Tax Withholding Information
Taxable Marital Status:
PR: Single

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* Excluded from federal taxable wages

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* “ASHBURN, WA 20147

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Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 59 of 73

(13) July 3, 2023 Messages between Lt. Krul and I (pg. 16 to pg. 18)
Messages between PM. Cluff and I (pg. 2)
Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 60 of 73

11 de julio de 2023

Virna L. Ruiz Rivera

GUANTANAMO BAY, CUBA

Nathan Cluff

MVM PROGRAM MANAGER

GUANTANAMO BAY, CUBA

ASUNTO: ERRORES EN EL “TIME SHEET AND PER DIAM”

Cordiales saludos;

Por este medio formalmente me dirijo ante usted. Que le presento mis disculpas, por los errores
en fechas y horas tanto en el “TIME SHEET AND PER DIEM. Ante el estado de estrés, miedo,
preocupacion entre otras, por situaciones laborables. Han perjudicado mi enfoque. Me esforzaré para

ee

que esta situacion no se repita.

Espero que pueda entender y no continue molesto.

Agradecida,

Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 61 of 73

july 11, 2023

Virna L. Ruiz Rivera

GUANTANAMO BAY, CUBA

Nathan Cluff

MVM PROGRAM MANAGER

GUANTANAMO BAY, CUBA

AFFAIR: MISTAKES ON THE TIME SHEET AND PER DiAM

| hereby formally address you. | apologize to you for the following mistakes, on the hours and
dates from the Time Sheet and Per Diam. There for I’m under stress, fear, concerns among others,
related to work situation. It has harmer my focus. I will do my best, so this situation does not happen
again.

Hopetully you can understand anc wii be mad tor no longer. - rene eaten

Thank you,

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wh
Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 62 of 73

(15) July 13, 2023 Incident Report email letter to HR Leo Pacheco

—)\_
Nv"

Migrant Operations Center
INCIDENT REPORT
Date: 07/13/2023 Time of incident: 4:29 PM
Reporting Officer: Ruiz
4
[. ] Person (s) [ ] Sanitatien— [ X ] Safety [ ] Maintenance [ ] Other:
‘gry . (DESCRIPTION OF INCIDENT ---~ -

WHILE | WAS WEATING INSIDE THE U BOAT, MIGRANT ALEXANDER TRUJILLO CAME UP TO ME
AN SEAT NEXT TO ME.

signature CLAS,

Supervisor’s shen whe te De po DATE: aD ! rb / 202 72
Action taken if any:

MYM. INC.
Service Success and Support
44620 Guilford Drive - Suite 150 - Ashburn - VA - 20147-6063
Tel (571) 223-4500 - Fax (571) 222-4474 - VA Lic. #11-1259
Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 63 of 73

13 de julio de 2023

Virna L. Ruiz Rivera

Guantanamo Bay, Cuba

Leo Pacheco

Para informarle que el dia de ayer le hice entrega al Sup. Aguilera de una carta de disculpas para el PM.
Cluff. Le adjunto foto de la carta.

Durante el dia de hoy ocurrid otro incidente con el mismo migrante Alexander Trujillo. Adjunto foto del
incidente. Donde me senti intimidada. Que al ir al AV622 para redactar el incidente y entregar el mismo.
Una vez entregado me marche. Llegando a la habitacion recibi una llamada del supervisor para que fuera
a llamar la policia. Me devolvi y fue entonces que me informa el supervisor Murphy quien mediante
llamada telefénico recibid ordenes para que me solicitara salir de las facilidades. Que no podia llamar la
policia desde el edificio. El despacho del 911 me solicito que Ilamara al 4105 desde mi celular esa
llamada no procedio y el teléfono del hotel esta dafiado.

Recibj una llamada de Ofelia Viesca y PM. CLUFF en una llamada conjunto. Me hablaron del incidente en
el bote. Aunque yo Ilegué primero al bote; que debi moverme y sentarme en otro lado si me senti
intimidada. A mi entender la llamada fue grabada, como también la llamada con la sefiora Barbara. De
ser asi deberia escucharlas. Que de ICE darse por enterado no renueva el contrato con MVM.

éQuisiera saber cuantas amenazas, intimidaciones, de parte del migrante tengo que aguantar y del trato
hostil de mi jefe PM Cluff? éSi me golpea el migrante tampoco me puedo defender? Hasta hora todo lo
que ha dicho el migrante o los migrantes lo dan por hecho.

He trabajado arduamente por esta companiia. Cumpliendo con mi trabajo y el trabajo de supervisi6n con
el conocimiento de la administraci6n entre otras cosas ya mencionadas en el primer email. He recibido
insultos, amenazas, intimidaciones departe del migrante Alexander Trujillo. Trato hostil de mi jefe. El
cabello se me esta cayendo, los dolores de cabeza son mas recurrentes e intensos. Continuo estresada.
En este instante traducir esta carta me es imposible del estrés y dolor de cabeza que tengo. Espero me
disculpe.

Respetuosamente,

Virna L. Ruiz Rivera
- Virna Lisys - Outlook x + Vv ss

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Informarle
13 de julio de 2023 2 Virna Lisys N H&P
3 ® ° ¢
To: Leo Pacheco Fri 7/14/2023 1:
Virna L. Ruiz Rivera [gy BOTEpaf io
ps ~" 73 KB

Guantanamo Bay, Cuba

Leo Pacheco

<\ Reply r? Forward

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llamada telefonico recibid ordenes para que me solicitara salir de las facilidades. Que no podfa llamar la
policia desde el edificio. El despacho del 911 me solicito que Ilamara al 4105 desde mi celular esa
llamada no procedio y el teléfono del hotel esta dafiado.

Recib/ una llamada de Ofelia Viesca y PM. CLUFF en una llamada conjunto. Me hablaron del incidente en
el bote. Aunque yo llegué primero al bote; que debi moverme y sentarme en otro lado si me senti
intimidada. A mi entender la llamada fue grabada, como también la llamada con la sefiora Barbara. De
ser asi deberfa escucharlas. Que de ICE darse por enterado no renueva el contrato con MVM.

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- Virna Lisys - Outlook x + Vv =

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Una vez entregado me marche. Llegando a la habitacién recibi una llamada del supervisor para que fuera a
a llamar la policia. Me devolvi y fue entonces que me informa el supervisor Murphy quien mediante Informarle

llamada telefonico recibié ordenes para que me solicitara salir de las facilidades. Que no podfa llamar la
policia desde el edificio. El despacho del 911 me solicito que llamara al 4105 desde mi celular esa

llamada no procedio y el teléfono del hotel esta dafiado. Virna Lisys S&S GH
° eo?

Recib/ una llamada de Ofelia Viesca y PM. CLUFF en una llamada conjunto. Me hablaron del incidente en To: Leo Pacheco Fri 7/14/2023 1:

el bote. Aunque yo llegué primero al bote; que debi moverme y sentarme en otro lado si me senti

intimidada. A mi entender la llamada fue grabada, como también la llamada con la sefiora Barbara. De [4) BOTE.pdf v

ser asi deberfa escucharlas. Que de ICE darse por enterado no renueva el contrato con MVM. oKe
éQuisiera saber cudntas amenazas, intimidaciones, de parte del migrante tengo que aguantar y del trato
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He trabajado arduamente por esta compajiia. Cumpliendo con mi trabajo y el trabajo de supervision con <= Reply cr? Forward
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En este instante traducir esta carta me es imposible del estrés y dolor de cabeza que tengo. Espero me
disculpe.

Respetuosamente,

Virna L. Ruiz Rivera

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Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 66 of 73

(16) July 16, 2023 Incident Report

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“VN

Migrant Operations Center
INCIDENT REPORT

Date: 07/13/2023 Time of incident: 1658
Reporting Officer: Sup. Murphy
[x ] Person (s) [ ] Sanitation [ ] Safety [ ] Maintenance [ ] Other:

DESCRIPTION OF INCIDENT

To report that | have been receiving hostile and unprofessional treatment from Ofc. Richard. In
many situations, the last one was on July 16, 2023, at the control room and Sup. Aguilera was
there; among other situations that | can provide information.

1 ~
June 30, 2023, at the hotel lobby, | gave PM. Cluff knowledge of the ongoing behavior of Ofc.
Richard.

. pate: _ 07-/7- J023
s, C~, DATE: © 7 -(7- 252 2
Action taken if any: ()

Signature:—7~

Supervisor’s Signature:

MVM, INC.
Service Success and Support
44620 Guilford Drive - Suite 150 - Ashburn - VA - 20147-6063
Tel (571) 223-4500 - Fax (571) 223-4474 - VA Lic. #11-1259

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10/2/23, 12:13 PM Mail - Virna Lisys - Outlook

Re: Travel

Barbara Walrath <walrathb@mvminc.com>
Tue 7/25/2023 10:29 AM

To:Virna L. Ruiz <virnalizy@hotmail.com>

We are taking care of your luggage.
Barbara

Sent from my iPhone

> On Jul 25, 2023, at 9:56 AM, Virna Lisys <virnalizy@hotmail.com> wrote:

>

> CAUTION: This message has originated from an External Source. Please use proper judgment and
caution when opening attachments, clicking links, or responding to this email.

>

>

> There is a situation with my lounges. The company is paying for my flight but not my lounges.

>

> Sent from my iPhone

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Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 68 of 73

IV. Injuries Evidence
Conversation betwwwn Jazmin Garcia and I (May 5, 2023)
X ray evidence of broken tooth P.R. rapair (July 31, 2023)

10/2/23, 1:08 PM Mail - Virna Lisys - Outlook

FW: Questions

Jazmin Madrigal Garcia <madrigalgarciaj@mvminc.com>
Fri 5/5/2023 2:58 PM

To:Virna L. Ruiz <virnalizy@hotmail.com>

1 attachments (112 KB)
Unanet Login Instructions - Onboarding.pdf;

Hi Virna!

Thanks for reaching out. Please see below the answers to your questions:

1.

Ww

Employees cannot travel back to the U.S. every monih. In this case, the officers have to stay in GTMO for
the year contract. In case you have an emergency, you always have to check that with your supervisor and
operations manager at GTMOQ.

. Attached is a document that can help you to use Unanet. There are some links there on how to access to

workday and also see the Unanet User guide in Workday. In addition, this is a link that takes you to ADP:
workforcenow.adp.com. In Workday if you put Payroll information on the search bar, you can find an ADP
guide. If you need additional help with ADP or have a questions about your payment, please contact:
payroll@mvminc.com

. Do you mean Per diem? In this case Full Time officers do not receive per diem.
. Regarding the benefits, you have to log into Workday and check your pending onboarding tasks in your

inbox. You should receive pending tasks regarding the insurance. There is where you enroll and complete
the insurance information. You can always double check with HR regarding your benefits or sent an email
to: benefits@mvminc.com

Feel free to contact me if you any questions.

Thank you,

Jazmin Madrigal Garcia | Talent Acquisition Recruiter

MVM Inc. |o 540-403-8355| e madrigalgarciaj@mvminc.com
Building a Future, Together

Visit our website | Follow us on LinkedIn

From:

Virna Lisys <virnalizy@hotmail.com>

Sent: Thursday, May 4, 2023 10:16 PM
To: Jazmin Madrigal Garcia <madrigalgarciaj@mvminc.com>
Subject: Questions

CAUTION: This message has originated from an External Source. Please use proper judgment and caution when opening
attachments, clicking links, or responding to this email.

Hi Jazmin,

| have some question that maybe you can answer or you can tell me were to get information?

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Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 69 of 73

10/2/23, 1:08 PM Mail - Vira Lisys - Outlook

1. You told me | can travel every moth out of Cuba to Jacksonville, Fl and back in for medical
appointments; and it's not like that.

2. The payments app Unanet, ADP or workday are not friendly. So, I'm not sure how much have | got
paid or not. | need instructions how to use them or where do | get them.

3. We never discussed periderm.

4. The medical insurance | have not receive any insurance information to this day.

https://outlook.live.com/mail/O/id/AQMkKADAWATYOMDABLTIIOTYtYZEwMSOwMAIMDAKAEYAAAP%2B0cvuVDogT pEWxgeGUzfsBwDT8lexrLbPRo... 2/2
Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 70 of 73

DRA.

OSALIE QUINONES DDS

201 AVE ARTERIAL HOSTOS
COND GALERIA | SUITE 205
SAN JUAN PR 00918

DATE 7-31-23

RECORD [28800
AMOUNT $ AISA

PACIENTE NAME _Virma LL . h Ue, k (vere

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San juan, PR 90918

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Dra. Rosalie Quinones DMD
Ave. Arterlal Hostas Condominio Galeria 1 Suite 205

00918 San Juan

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Dra, Rosalie Quinones DMD

FRA VIRNA L,

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Ave. Arterial Hostos Condominio Galeria 1 Suite 205

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Case 3:23-cv-01493-PAD Document 1-5

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Dra. Rosalie Quinones DMD

ERA VIRNA L.

RUIZ RIV!

Ave. Arterial Hostas Condominio Galeria 1 Suite 205

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Case 3:23-cv-01493-PAD Document 1-5 Filed 10/03/23 Page 73 of 73

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